JS 44C/SDNY                    Case 7:21-cv-09421-CS Document 2 Filed 11/15/21 Page 1 of 2
                                                                               CIVIL COVER SHEET
REV.
10/01/2020                The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
                          other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
                          United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.



PLAINTIFFS                                                                                     DEFENDANTS
Jaimie Cawley, on behalf of herself and all others similarly situated,                         KSF Acquisition Corporation d/b/a SlimFast and Slim-Fast


ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER                                            ATTORNEYS (IF KNOWN)
James R. Denlea, Jeffrey I. Carton, Amber T. Wallace, and David M.
Rubinstein of Denlea & Carton LLP, 2 Westchester Park Drive, Suite 410,
White Plains, NY 10604, Tel.: (914) 331-0100, Fax: (914) 331-0105
CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
                           (DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

28 U.S.C. §§ 1332(a), (d). Causes for deceptive acts or practices (NY Gen. Bus. L. § 349) and false advertising (NY Gen. Bus. L. § 350).

                                                                                                                                                         Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No                               Yes

If yes, was this case Vol.           Invol.      Dismissed. No             Yes        If yes, give date _______________________ & Case No. ______________________

IS THIS AN INTERNATIONAL ARBITRATION CASE?               No                Yes

(PLACE AN [x] IN ONE BOX ONLY)                                           NATURE OF SUIT
                                  TORTS                                                                                        ACTIONS UNDER STATUTES



CONTRACT                          PERSONAL INJURY                 PERSONAL INJURY              FORFEITURE/PENALTY              BANKRUPTCY                      OTHER STATUTES
                                                                  [ ] 367 HEALTHCARE/
                                                                  PHARMACEUTICAL PERSONAL                                                                      [ ] 375 FALSE CLAIMS
[   ] 110       INSURANCE         [ ] 310 AIRPLANE                                             [ ] 625 DRUG RELATED            [ ] 422 APPEAL
[   ] 120       MARINE            [ ] 315 AIRPLANE PRODUCT        INJURY/PRODUCT LIABILITY                                              28 USC 158             [ ] 376 QUI TAM
                                                                                                SEIZURE OF PROPERTY
[   ] 130       MILLER ACT                 LIABILITY              [ ] 365 PERSONAL INJURY             21 USC 881               [ ] 423 WITHDRAWAL              [ ] 400 STATE
[   ] 140       NEGOTIABLE        [ ] 320 ASSAULT, LIBEL &                 PRODUCT LIABILITY                                            28 USC 157                      REAPPORTIONMENT
                                                                                               [ ] 690 OTHER
                INSTRUMENT                 SLANDER                [ ] 368 ASBESTOS PERSONAL                                                                    [ ] 410 ANTITRUST
[ ] 150         RECOVERY OF       [ ] 330 FEDERAL                          INJURY PRODUCT                                                                      [ ] 430 BANKS & BANKING
                OVERPAYMENT &              EMPLOYERS'                      LIABILITY           PROPERTY RIGHTS                                                 [ ] 450 COMMERCE
                ENFORCEMENT                LIABILITY                                                                                                           [ ] 460 DEPORTATION
                OF JUDGMENT       [ ] 340 MARINE                  PERSONAL PROPERTY            [ ] 820 COPYRIGHTS     [ ] 880 DEFEND TRADE SECRETS ACT         [ ] 470 RACKETEER INFLU-
[ ] 151         MEDICARE ACT      [ ] 345 MARINE PRODUCT                                       [ ] 830 PATENT                                                           ENCED & CORRUPT
[ ] 152         RECOVERY OF                LIABILITY              [ ] 370 OTHER FRAUD                                                                                   ORGANIZATION ACT
                                                                                               [ ] 835 PATENT-ABBREVIATED NEW DRUG APPLICATION
                DEFAULTED         [ ] 350 MOTOR VEHICLE           [ ] 371 TRUTH IN LENDING                                                                              (RICO)
                STUDENT LOANS     [ ] 355 MOTOR VEHICLE                                        [ ] 840 TRADEMARK                                               [ ] 480 CONSUMER CREDIT
                (EXCL VETERANS)            PRODUCT LIABILITY                                                                   SOCIAL SECURITY
                                                                                                                                                               [ ] 485 TELEPHONE CONSUMER
[ ] 153         RECOVERY OF       [ ] 360 OTHER PERSONAL
                OVERPAYMENT                INJURY                 [ ] 380 OTHER PERSONAL       LABOR                           [   ] 861 HIA (1395ff)                  PROTECTION ACT
                OF VETERAN'S       [ ] 362 PERSONAL INJURY -               PROPERTY DAMAGE                                     [   ] 862 BLACK LUNG (923)
                BENEFITS                   MED MALPRACTICE        [ ] 385 PROPERTY DAMAGE      [ ] 710 FAIR LABOR              [   ] 863 DIWC/DIWW (405(g))    [ ] 490 CABLE/SATELLITE TV
[ ] 160         STOCKHOLDERS                                               PRODUCT LIABILITY             STANDARDS ACT         [   ] 864 SSID TITLE XVI        [ ] 850 SECURITIES/
                SUITS                                                                          [ ] 720 LABOR/MGMT              [   ] 865 RSI (405(g))                   COMMODITIES/
[ ] 190         OTHER                                             PRISONER PETITIONS                     RELATIONS                                                      EXCHANGE
                CONTRACT                                          [ ] 463 ALIEN DETAINEE       [ ] 740 RAILWAY LABOR ACT                                       [ ] 890 OTHER STATUTORY
[ ] 195         CONTRACT                                          [ ] 510 MOTIONS TO           [ ] 751 FAMILY MEDICAL          FEDERAL TAX SUITS
                                                                                                                                                                        ACTIONS
                PRODUCT           ACTIONS UNDER STATUTES                   VACATE SENTENCE     LEAVE ACT (FMLA)
                LIABILITY                                                  28 USC 2255                                      [ ] 870 TAXES (U.S. Plaintiff or   [ ] 891 AGRICULTURAL ACTS
[ ] 196     FRANCHISE             CIVIL RIGHTS                    [ ] 530 HABEAS CORPUS        [ ] 790 OTHER LABOR                   Defendant)                [ ] 893 ENVIRONMENTAL
                                                                  [ ] 535 DEATH PENALTY                 LITIGATION          [ ] 871 IRS-THIRD PARTY                     MATTERS
                                                                  [ ] 540 MANDAMUS & OTHER     [ ] 791 EMPL RET INC                  26 USC 7609               [ ] 895 FREEDOM OF
                                  [ ] 440 OTHER CIVIL RIGHTS
                                                                                                        SECURITY ACT (ERISA)                                            INFORMATION ACT
                                          (Non-Prisoner)
REAL PROPERTY                                                                                                                                                  [ ] 896 ARBITRATION
                                  [ ] 441 VOTING                                               IMMIGRATION
                                                                                                                                                               [ ] 899 ADMINISTRATIVE
[ ] 210        LAND               [ ] 442 EMPLOYMENT              PRISONER CIVIL RIGHTS
               CONDEMNATION       [ ] 443 HOUSING/                                                                                                                PROCEDURE ACT/REVIEW OR
                                                                                            [ ] 462 NATURALIZATION
[ ] 220        FORECLOSURE                  ACCOMMODATIONS        [ ] 550 CIVIL RIGHTS               APPLICATION                                                  APPEAL OF AGENCY DECISION
[ ] 230        RENT LEASE &       [ ] 445 AMERICANS WITH          [ ] 555 PRISON CONDITION  [ ] 465 OTHER IMMIGRATION                                           [ ] 950 CONSTITUTIONALITY OF
               EJECTMENT                    DISABILITIES -        [ ] 560 CIVIL DETAINEE             ACTIONS
                                            EMPLOYMENT                                                                                                          STATE STATUTES
[ ] 240        TORTS TO LAND                                         CONDITIONS OF CONFINEMENT
[ ] 245        TORT PRODUCT        [ ] 446 AMERICANS WITH
               LIABILITY                    DISABILITIES -OTHER
[ ] 290        ALL OTHER            [ ] 448 EDUCATION
               REAL PROPERTY




            Check if demanded in complaint:
                                                                           DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.
            CHECK IF THIS IS A CLASS ACTION                                AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
            UNDER F.R.C.P. 23                                              IF SO, STATE:

        5,000,001+
DEMAND $______________ OTHER Injunctive
                             ______________ JUDGE _________________________________ DOCKET NUMBER_________________

Check YES only if demanded in complaint
JURY DEMAND:                 YES       NO                                  NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
                         Case 7:21-cv-09421-CS Document 2 Filed 11/15/21 Page 2 of 2
(PLACE AN x IN ONE BOX ONLY)                                                    ORIGIN
   1   Original           2   Removed from                3   Remanded       4 Reinstated or          5 Transferred from       6   Multidistrict
                                                                                                                                   Litigation
                                                                                                                                                           7 Appeal to District
                                                                                                                                                             Judge from
       Proceeding             State Court                     from             Reopened                   (Specify District)
                                                                                                                                   (Transferred)              Magistrate Judge
                                                              Appellate
                           a.   all parties represented       Court
                                                                                                                               8 Multidistrict Litigation (Direct File)
                           b.   At least one party
                                is pro se.
(PLACE AN x IN ONE BOX ONLY)                                           BASIS OF JURISDICTION                                            IF DIVERSITY, INDICATE
   1   U.S. PLAINTIFF           2   U.S. DEFENDANT              3   FEDERAL QUESTION    4 DIVERSITY                                     CITIZENSHIP BELOW.
                                                                    (U.S. NOT A PARTY)

                                    CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)
        (Place an [X] in one box for Plaintiff and one box for Defendant)

                                PTF    DEF                                                     PTF DEF                                                          PTF       DEF
CITIZEN OF THIS STATE           [ ]1   [ ]1       CITIZEN OR SUBJECT OF A                      [ ]3[ ]3         INCORPORATED and PRINCIPAL PLACE                [ ]5      [ ]5
                                                   FOREIGN COUNTRY                                              OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE        [ ]2   [ ]2       INCORPORATED or PRINCIPAL PLACE              [ ]4[ ]4         FOREIGN NATION                                  [ ]6      [ ]6
                                                   OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
Jaimie Cawley
189 Tibbetts Road
Yonkers, NY 10705
Westchester County

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)
PRINCIPAL PLACE OF BUSINESS: KSF Acquisition Corporation d/b/a SlimFast and Slim-Fast, 11780
US Highway One, Suite 400N, Palm Beach Gardens, FL 33408, Palm Beach County

MAILING ADDRESS: KSF Acquisition Corporation d/b/a SlimFast and Slim-Fast, 3500 Lacey Road,
Suite 1200, Downers Grove, IL 60515, DuPage County
DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:




                                                                      COURTHOUSE ASSIGNMENT
I hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.



Check one:     THIS ACTION SHOULD BE ASSIGNED TO:                                      WHITE PLAINS                             MANHATTAN
                        /s/ Jeffrey I. Carton
DATE 11/15/2021                                                                                       ADMITTED TO PRACTICE IN THIS DISTRICT
                                SIGNATURE OF ATTORNEY OF RECORD                                       [ ] NO
                                                                                                      [ ] YES (DATE ADMITTED Mo.June
                                                                                                                                 _______ Yr. 1993
                                                                                                                                             _______)
RECEIPT #    ANYSDC-25334127                                                                          Attorney Bar Code # JC8296


Magistrate Judge is to be designated by the Clerk of the Court.

Magistrate Judge _________________________________________________________ is so Designated.

Ruby J. Krajick, Clerk of Court by _____________ Deputy Clerk, DATED _____________________.

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
